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Christopher Eustice                                                     "F?yFr
                                                                   Ev..> '"-^ ^ f. ^ ^ ^

655 West Forest Dr.

Houston, TX 77079                                                                    f-vr^

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(832)-259-1634                                                    U.S. DtS7HiCT COURT
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Chris.eustice@sbcglobal.net
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                              TOTITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF LOUISIANA

CHRISTOPHER D EUSTICE



                 Plaintiff,


V.                                                  Civil Action No.

STATE OF LOUISIANA THROUGH THE BOARD OF
SUPERVISORS OF LOUISIANA STATE
UNWERSITY AND AGRICULTURAL AND
MECHA1MICAL COLLEGE; MEGAN C MARTTER;
ANDRYANBARSA


               Defendants.
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        PLAINTIFFS ORIGINAL COMPTAFSfT AND .njRV DEMAND:

TO THE HONORABLE JUDGE OF SAD) COURT:

        NOW COMES CHRISTOPHER D EUSTICE, Plaintiff Pro Se, (hereinato referred to as

"Plaintiff) complaining of the STATE OP LOUISIANA THROUGH THE BOARD OF

SUPERVISORS OF LOUISIANA STATE UNIVERSITY AND AGRICULTURAL AND
MECHANICAL COLLEGE; MEGAN C MARTTER; AND RYAN BARSA, (hereinafter
collectively referred to as "Defendants") and files this his Original Complamt and Jury Demand and

would respectfully show as follows:

                                         L JURISDICTION
1. The Court has jurisdiction over this matter pursuant to 42 U.S.C. § 1983; 28 U.S.C.

        § 1343(a)(l),(2.),(3)and(4); 28 U.S.C. § 1331; 28 US.C. § 1332; 28 U.S.C. § 1367;
        29U.S.C. §794and42U.S.C. §§ 12131-12150.



                                         IL VENUE
2. Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), because a substantial

       part of the events and omissions giving rise to this case and the damages sustained by

       Plaintiff occurred in East Baton Rouge Parish, Louisiana, which is part of the United

        States District Court for the Middle District of Louisiana.



                                        Ill: PARTIES
3. At all times relevant to this action, Christopher Eustice, Plaintiff herein, was a

       student at Louisiana State University in Baton Rouge, LA. His permanent home

       address is 655 West Forest Dr., Houston, TX 77079.


4. Defendant Board of Supervisors of Louisiana State University and Agricultural and

       Mechanical College (the "Board," "Defendant Board" or "LSU") is a public

       constitutional corporation organized and existing under the laws of the State of

       Louisiana to operate, manage, and control the LSU public university system,

       including its campus in Baton Rouge, with its principal place of business located at

       3810 West Lakeshore Drive, Baton Rouge, Louisiana 70808. LSU is a recipient of

       federal funds within the meaning of 20 U.S.C. § 1681(a), under the Americans with
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       Disabilities Act of 1990 As Amended, and under the Rehabilitation Act of 1973.

5. Defendant Megan'C Martter is of full age and majority and, at all relevant times,

       was a citizen of the State of Nevada, and residing in East Baton Rouge Parish,

       Louisiana. Defendant Martter at all relevant times was a student of LSU and a

       member of the Society of Petroleum Engineers at LSU. Megan C Martter may be

       served at her home address of 3035 Rosanna St. Las Vegas,NV 89117-3141.

6. Defendant Ryan Barsa is of full age and majority and, at all relevant times, was a

       citizen of the State of New Jersey, and residing in East Baton Rouge Parish,

       Louisiana. Defendant Barsa at all relevant times was a student of LSU and a

       member of the Society of Petroleum Engineers at LSU. Ryau Barsa may be served

       at his home address of 20 Conifer Dr. Mendham, NJ 07945-3023.

7. At all times relevant herein, all LSU faculty, staff, professors, and law enforcement

       officials herein were acting under color of state law in the course and scope of their

       duties and functions as agents, servants, and employees of their employer named

       herein, and otherwise performed and engaged in conduct incidental to their

       performance of their lawful functions in the course of their duties.

8. On information and belief, Defendant, LSU's policy, practice and custom of

       engaging in faulty investigations, false arrests and false imprisonment has been

       promulgated, effectuated and/or enforced in bad faith as a matter of express policy

       or custom and contrary to clearly established law.


9. In defiance of the clear constitutional command. Defendants have at all times

      relevant herein, promulgated, implemented, enforced and/or failed to rectify a

      policy, practice and custom allowing officers and deputies to engage in the sort of

      constitutional violations averred herein without proper oversight or sufficient

      corrective action. This policy or custom has resulted in the violation of the most

      fundamental rights of the Plaintiff herein.

10. As a direct and proximate result of the acts described herein effected pursuant to

      this policy or custom. Plaintiff has suffered severe psychological pain and suffering,

      mental anguish and loss of wages.
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                              IV, STATEMENT OF FACTS

11. Plaintiff graduated as valedictorian of his high school class in 2012 and had a perfect

        conduct record. (Exhibit A) Plaintiff is an Eagle Scout. (Exhibit B)

12. Plaintiff first attended Texas A&M University with a chosen major of Petroleum

       Engmeering("PETE"), where he experienced academic success, but after facing

       unfair scrutiny from the administration he transferred to Louisiana State

       University("LSXT) in January 2015. Plaintiff attended Texas A&M for nearly 3

       years.


13. Plaintiff immediately joined several Student Organizations on the LSU Campus in

       January 2015, including the Society of Petroleum Engmeers("SPE"), American

       Association of Drilling Engineers("AADE") and many other student organizations..

14. The Plaintiff held leadership positions in those organizations and worked closely

       with many students who appreciated his participation. For 10 months the Plaintiff

       worked closely with SPE President Daniel Scott Cole and SPE President Ty Nielson

       to help plan events.


15. Plaintiff experienced academic success at LSU, earning exclusively A grades

       throughout his first two semesters at LSU. Plaintiff was in perfect standing with the

       University and had no problems wifti the Administration for 1 1 months following

       his initial enrollment at LSU. Plaintiff had great experiences with his professors.

16. On September 25,2015, Plaintiffs roommate Alex Cruz commits suicide. Plaintiff

       and his other roommates became emotionally unstable and started blaming

       themselves for the incident. LSU made little to no effort to provide resources to

       Plaintiff or his roommates.

17. On October 2, 2015, Plaintiffs roommate Henry Belt attempts to commit suicide.

       Henry Belt did not attempt to harm any other individuals. Plaintiff experienced

       severe emotional distress and mental anguish from these incidents and was offered

       little to no resources or help from LSU.

18. Through their failure to address student suicide as a serious issue, LSU has engaged

       in both negligent and tortious misconduct. LSU student suicide continues to remain
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       a serious problem to this day.

 19. On October 14, 2015, Ryan Barsa, Student President of the American Association of

       Drilling Engineers(<'AADE") at LSU, stole the Plaintiff's intellectual property that

       the Plaintiff had been working on since his initial enrollment atLSU. Ryan Barsa

       also began unreasonably excluding the Plaintiff from the student organization as he

       had done with several other students. A short text message argument ensued

       between Plaintiff and Barsa and the Plaintiff stated that the LSU AADE Student

       Organization was "pathetic in comparison to the Texas A&M AADE Student

       Organization." This provoked Ryan Barsa to attempt to claim harassment charges

       with the LSU Police, who refused to press charges.

20. Ryan Barsa's actions were in contravention of the AADE Student Organization's

       Constitution, a document created by former student leaders to protect the

       organization from rogue or oppressive student leaders. This constitutes both

       negligent and tortious misconduct as well as a breach of an implied-in-fact contract.


21. On October 29,2015 the Plaintiff files a Federal lawsuit against Texas A&M

       University. The lawsuit contains claims under the Americans with Disabilities Act

       of 1990 As Amendedf'ADA"), and claims under the Rehabilitation Act of

       1973("RA"). Plaintiff has been diagnosed with Attention Deficit/Hyperactivity

      Disorder(<tADHD'?). Plaintiff has an excellent case against Texas A&M University

       and expects to ultimately prevail in the ongoing legal battle.

22. OnNovember 15, 2015, the Plaintiff attempted to have his dispute with Ryan Barsa

      brought up with the PETE Department head. Dr. Thompson. This provoked Ryan

      Barsa to turn to other means, including defaming the Plaintiff amongst his fellow

      students and the PETE faculty. On November 15, 2015 Ryan Barsa calls Will Pecue

      to have the Plaintiffs New Orleans AADE Scholarship Check placed on hold.

      Plaintiff loses his scholarship and does not receive a scholarship when he applies

      again in 2016. The PETE faculty try to distance themselves from the issue.

23. The problems with the LSU Administration began on November 24, 2015, when

      Ryan Barsa disclosed text messages to the LSU Office of Student Advocacy and

      AccountabilityC'SAA"). The text messages that Ryan Barsa disclosed to SAA
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        included messages that referenced the Plaintiffs recently filed lawsuit against

        Texas A&M. The Director of the LSU SAA Office, Matt Gregory, was the

       President and 7 year member of a Texas A&M Club for student conduct

        administrators, the very same administrators that the Plaintiff had just filed a

       lawsuit against. SAA is responsible for disciplining students who are accused of

       violating the LSU Code of Student Conduct. This is when Matt Gregory's

       Office(SAA) began harassing the plaintiff without good cause in retaliation to

       his recently filed Federal Lawsuit against Texas A&M. This was both a direct

       and proximate cause for the harassment by LSU Officials for the exercise of

       Plaintiffs rights under the First and Fourteenth Amendments to the United

       States Constitution, and without regard for Plaintiffs rights under Section 504

       of the Rehabilitation Act of 1973 and the Americans With Disabilities Act.

24. On November 24,2015 Plaintiff receives a charge letter from LSU SAA for

       "harassment and failure to comply" for his short text message argument with Barsa.


25. On December 7,2015 Rachel Champagne recommends that Plaintiff be found

       responsible for the charge failure to comply, likely under Matt Gregory's orders.

26. Plaintiff explains the egregious and obvious theft of his intellectual property and his

       unreasonable exclusion from the AADE Student Organization, but SAA refuses to

       press charges against Ryan Barsa, in contravention to the LSU Code of Student

       Conduct, and in contravention to LSU rules, policies, procedures, and bylaws.


27. On December 8,2015 Plaintiff declines responsibility for the charges and requests a

       University Hearing Panel("UHP"). Rachel Champagne says her decision is void

       until tfae hearing panel. This meant her no contact directive was also void.


28. On January 19, 2016 Plaintiff attends a University Hearing Panel("UHP" "Horribly

       Rigged System" <CMatt Gregory's Kangaroo Court"). As part of the UHP process,

       SAA recommends a finding of responsibility and openly recommends sanctions

       to the panel in writing and in advance of the hearing. SAA Director Matt

       Gregory had the power to recommend unfair and unjust sanctions against the

      Plaintiff in retaliation to Plaintiffs lawsuit against his good friends, and

      without any checks on his power. Plaintiff later receives a hearing outcome letter.
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       Plaintiff is let off with a warning and a mediation session is to be completed with

       Ryan Barsa by Februaiy 12 2016.

29. The LSU Petroleum Engineering Department began denying the Plaintiff

       appropriate accommodatiotts in January 2016 by shorting Plaintiff on exam testing

       times or denying accommodations altogether on things such as m class quizzes, in

       contravention ofLSU rules and procedures and Federal Law(ADA and RA). This

       constitutes both negligent and tortious misconduct as well as a breach of an mrplied-

       in-fact contract.


30. On the evening of February 17,2016, the Plaintiff gave a campaign speech while

       running for SPE Vice President, Hundreds of Petroleum Engineering Students

       attended this speech. In his speech, the Plaintiff described the LSU PETE

       Department as having become "the laughing stock for Universities who now

       outperform us." This quote was a play-on and somewhat harsh Satire of Donald

       Tmmp^s Presidential campaign, but the words rung tme to the 200+ PETE students

       in attendance. In order to emphasize fundraising, the Plaintiff concluded his speech

       by spraying money into the audience with a money gun to a popular track by rap

       artist Future. This was viewed as good humor and was incredibly popular amongst

       his fellow students.

31. News of Plaintiffs speech spread far and wide, and he quickly became a

       campus celebrity. Plaintiff had acquired Legendary Status on the LSU campus.

32. On Friday February 19, 2016 the Plaintiff takes his PETE 3050 Exam 1 with the rest
       of his classmates. Several weeks later when the Plaintiff receives the exam baolc, he

       notices a grading error and returns the exam to Dr. Thompson for a regrade. Dr.

       Thompson regrades the exam, scans the exam and has his assistant release the exam

      to the Plaintiff.

33. Dr. Karsten Thompson felt as if the Plaintiffs actions threatened his role as

      PETE Department Head. Shortly after this speech in the Spring of 2016, Dr.

      Thompson successfully coerced two PETE Department professors into playing

      along and being complacent in a cheating case which was clearly fabricated

      against the Plaintiff, as proven by both direct and circumstantial evidence.
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34. Dr. Thompson was well aware of the issue between the Plaintiff and Ryan

       Barsa. Dr. Thompson had previously let the Plaintiff know that he was well

       aware of the SAA case regarding the short text message argument in the Fall of

       2015 when the Plaintiff sought Dr. Thompson's help in the matter.

35. Dr. Thompson sought the help of SAA Director Matt Gregory (President and

       seven year member of a Texas A&M club for student conduct administrators,

       the very same Texas A«&M administrators who the Plaintiff had filed a lawsuit

       against in October of 2015.) Dr. Gregory had a new job Uned up at Texas Tech as

       Dean of Students, and was not afraid to risk his job at LSU.

36. On March 18,2016 Katie Barras recommends that Plaintiff be charged for missing a

       meeting with Ryan Barsa that SAA cancelled despite the fact that Plaintiff followed

       up with SAA via email numerous times in order to make sure the meeting took

       place. Dr. Gregory's office recommended that Plaintiff receive punishment and be

       placed on probation with restriction for not attending a meeting with Ryan Barsa.

       This was a mediation meeting that his office had cancelled and failed to reschedule,

       a meeting that the Plaintiff very much wanted to attend, despite Plaintiffs every

       effort to reschedule the meeting and having sent numerous emails to have the

      meeting rescheduled. SAA ignored the Plaintiffs emails. These were clearly

      Administrative actions taken in bad faith. No reasonable person exercising

      their discretion would have treated the Plaintiff in a similar manner.

37. On April 1, 2016 the Plaintiff takes PETE 3050 exam 2 at the LSU Office for
      Disability Semces("ODS"). The Plaintiff receives 30 minutes less time on this

      exam than required by contract. This can be proven by ODS records and statements

      from classmates. Plaintiff brings up this shortage of time to course instructor Dr.

      Hughes, who instructs the Plaintiff to make corrections to his exam and submit it to

      Dr. Thompson for a regrade as an "OD8 Remediation," similar to what was done in

      the Plaintiffs PETE fluids class in the previous Fall 2015 semester when a similar

      time shortage on his exam was addressed. Dr. Hughes advises the Plaintiff that only

      Dr. Thompson had the authority to adjust his grade. Dr. Thompson successfully

      coerced Dr. Hughes to play along with his fabricated cheating claims.
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38. On April 7,2016 Plaintiff takes PETE 3036 exam 2 through ODS. A high quality
       overhead camera records the plaintiff taking his exam. Upon receiving his exam

       back, the Plaintiff notices he did not receive credit for work that he completed on the

       back of one of the exam pages. Plaintiff quickly brings the grading error up with Dr.

       Sears, the professor of the course. Dr. Thompson later coerces the professor of the

       course. Dr. Sears, to play along with his fabricated cheating claims.

39. On April 8,2016 Matt Gregory's Kangaroo Court (the Horribly Rigged System)

       upholds the punishment recommended by Dr. Gregory's Office for missing the

       mediation meeting with Ryan Barsa. The Plaintiff is placed on probation with

       restriction, preventing him from engaging in on-campus extracumcular activities.


40. On April 25, 2016 Matthew Gregory sends Plaintiff a charge letter for an alleged

       cheating incident. Plaintiff is accused of modifying PETE 3050 Exam 1, PETE 3050
       Exam 2, and PETE 3036 Exam 2 and submitting them for a regrades. The cheating

       case is completely fabricated. The PETE 3050 Exam 2 was submitted as an ODS

       remediation due to Plaintiff receiving 30 minutes less than he should have. Dr.

       Hughes did not have authority to adjust Plaintiffs grade and recommended that

       Plaintiff turn m the corrected exam to Dr. Thompson. The class was taught by both

       professors. Dr. Thompson is the Department head and turned Plaintiff in for

       cheating. Two other exams were thrown in the mix and made to appear as if they

       were modified. PETE 3050 Exam 1 was ultimately excluded because Plaintiff was

       able to prove it was not modified prior to his hearing panel.

41. On April 27,2016 The Dean of Students denies Plaintiffs appeal for the missed

      meeting case. It seems like she doesn't look into the issue and merely reinforces

      whatever SAA recommends. In her denial letter she offers no information specific to

      the case. It looks like a generic letter that she sends to all students who appeal cases

      to her.


42. On May 5, 2016 Plaintiff emails ODS to request the PETE 3036 Exam 2 testing

      footage but his request is denied. SAA later claims to have accessed the footage, yet

      refused to submit it as evidence in the case file. This footage is later destroyed and

      covered up.
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43. Plaintiffs family was left very traumatized from these incidents and Plaintiffs

        mother had a heart attack in early morning of May 8, 2016. Plaintiff had kept the

        SAA cases to himself until sharing mfonnation with his parents approximately 1

       week prior to his mother's heart attack.


44. On May 9, 2016 Matt Gregory recommends Plaintiff be found responsible in the

       fabricated cheating case. He recommends that Plaintiff receive no credit for the work

       in question in PETE 3050 Exam 2 and no credit for the work in question in PETE

       3036 Exam 2. Plaintiff requests a hearing panel.

45. On June 9, 2016 The hearing panel upholds Matt Gregory's recommended sanctions

       with a minor modification, saying that Plaintiffs professors may apply a letter grade

       reduction at their own discretion. Sanctions are applied several months later by Dr.

       Thompson, but he decides to give Plaintifif grades of zero on both exams in

       contravention to the ruling made by the hearing panel.

46. Plaintiff has taken numerous elective courses, numerous geology courses, numerous

       business courses, and numerous miscellaneous engineering courses at LSU and has

       never been accused of cheating in any of those classes. Plaintiff has only been

       accused of cheating by PETE professors.

47. In the fabricated cheatmg case. Plaintiff was led to believe Dr. Sears would be in

       attendance but he ultimately did not attend, to Plaintiffs great detriment. Plaintiff

       was denied the right to submit evidence to the panel, and denied access to ODS

       camera testing footage that would have exonerated him. SAA employees fabricated

       evidence to make it appear that the backs of PETE 3036 exam 2 pages were copied

       prior to handing the exams back. This is clear because the blank pages inserted did

       not have stapled comers while the legitimate pages had stapled comers.

       Additionally, the original case file that was emailed to the Plaintiff did not have the

       blank pages that were present at the hearing. Dr. Gregory insisted in numerous

       recorded conversations and at the hearing that the backs of exam pages were copied,

       proving his ill intent. SAA covered up and destroyed the ODS camera footage that

       Plaintiff had requested. The PETE professors were very dishonest throughout the

       whole process. Dr. Thompson lied and claimed that Plaintiff had received adequate
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       time on his exam when he had been shorted 30 minutes and he lied, claiming that he

       did not ridicule Plaintiff in front of his class during lecture. Dr. Hughes lied about

       advising Plaintiff to submit a regrade request to Dr. Thompson as a remediation for

       being shorted on time. Dr. Hughes instructed Plaintiff to do this because only Dr.

       Thompson had the authority to adjust Plaintiffs grade on the exam. Dr. Thompson

       also very likely spoke with a scholarship committee and slandered Plaintiff's

       reputation, causing Plaintiff to lose a scholarship that had already been issued to

       him.


48. On June 21,2016 Plaintiff was charged by Matt Gregory for allegedly lying on his

       college application. Plaintiff had addressed his dismissal from Texas A&M on his

       application in accordance with the instructions provided to him by numerous faculty

       members before his enrollment at LSU. Plaintiff was asked why he didn't provide

       more information about what occurred at Texas A&M, but Plaintiff filled out the

       electronic application with the maximum word count allowed. After this point

       Plaintiff becomes aware of Dr. Gregory's background with Texas A&M by looking

       at his Linkedln Profile.

49. On June 30,2016 The Dean of Students denied Plaintiffs appeal of the

       fabricated cheating case without even reviewing it. Plaintiff receives another

       generic looking letter with no specific details about his case or rationale

       included* The denial without review is clear from the fact that she never

       accessed the documents that the Plaintiff sent to her via dropbox, proven by

       dropbox records. This violates LSIT rules, policies and procedures and

       constitutes a breach on an implied-in-fact contract.


50. Sometime in early July 2016 Matt Gregory is no longer employed at LSU.

51. On July 28,2016, the university hearing panel unanimously finds Plaintiff not

       responsible for lying on his college application. LSU has now determined the Texas

       A&M dismissal to have been unjust on two separate occasions.


52. Dr. Gregory pushed four cases that completely lacked any merit through his

       rigged system, where he or Itis employees would recommend sanctions that

      were upheld or very slightly modified by his panel members, panel members
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        who work for him and were socially pressured into creating similar outcomes.

        In Dr. Gregory's Kangaroo Court, Plaintiffs guilt was predetermined and

        Plaintiff was brought before a hearing panel in order to create the illusion of a

        fair hearing. In one case, Dr. Gregory recommended that Plaintiff receive

        punishment for getting into a verbal confrontation with a well-regarded

       Petroleum Engineering student who had stolen Plaintiffs intellectual property.

        la another case, Dr. Gregory recommended that Plaintiff receive punishment

        for not attending a meeting with Ryan Barsa that his office had cancelled and

       failed to reschedule, a meeting that Plaintiff very much wanted to attend,

       despite his every effort to have the meeting rescheduled.

53. The PETE Department and SAA have a long history of providing specific

       students unbridled discretion to cause harm to Plaintiff and many others. SAA

       selectively charges students who they do not like in an arbitrary and capricious

       manner. SAA selectively refuses to charge students who have committed far

       more egregious acts. SAA throws the book at specific students and charges

       them under very vague student rules that would subject even the most well-

       behaved students to almost guaranteed suspension or expulsion from the

       University. Plaintiff appealed tbe missed meeting and cheating case to the LSU

       Dean of Students and she denied his appeals without even reviewing them,

       violating LSU rules and contract law. This is proven by Dropbox records

       indicating that she never accessed the files along with her own written

       statements and actions. Plaintiff also appealed to the LSU President, and he's

       nearly certain theu' office never looked into the incident.


54. Plaintiff attempted to transfer to the University of Houston Petroleum Engineering

       Program during the Summer of 2016 but was unsuccessful.

55. In the Fall of 2016 Plaintiff reaches peak physical condition. He stands at 6 feet 3

       inches and weighs 215 Ibs. with only 5% body fat percentage. Plaintiff meets a

       female student named Megan Mitchell in one of his courses. Megan shows extreme

       interest in the Plaintiff and frequently engages in conversation with the Plaintiff.

       Megan deliberately sits in front of the Plamtiff and plays with her hair while peaking
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       backwards at him in class. Megan is constantly staring at the Plaintiff in class.

       Plaintiff has st'ong feelings of attraction for her but later becomes aware that she has

        a long-distance relationship with her high school boyfriend who attends school at

       West Point. Nothing comes of their relationship, but the Plaintiff saves her phone

       number for later use.


56. On October 12,2016 The President ofLSU denies Plaintiffs appeal for the missed

       meeting case without review. Plaintiff appealed both the missed meeting case and

       fabricated cheating case. The President's Office ultimately notifies the Plaintiff and

       tells him that the appeal for the cheating case will receive no review in April of

       2018. This goes against the email agreemenVcontract sent to Plaintiff that indicates

       that the President's Office would be reviewing the appeal.

57. In November 2016 the Plaintiff purchases a $14,000 Two-Tone Rolex Submariner

       and purchases a safe to keep this expensive watch locked up in his on-campus

       apartment. The LSU Police show up to Plaintiffs apartment and ask to look inside

       his safe to make sure there isn't a handgun inside. The Plaintiff allows the Police to

       look inside the safe and no handgun is found. Plaintiff feels mentally distressed from

       the encounter.


58. On December 10,2016 Dr. Thompson again falsely accuses Plaintiff of cheating in a

       class but the new director of SAA uses his good judgement and throws out the case.

59. On April 1, 2017 the Plaintiff meets Megan Martter at the SPE Baseball Tailgate.

       Plaintiff asks Megan for her number before leaving the tailgate and they begin

       texting each other that day. Megan invites the Plaintiff to the Woodlands Pool and

       Plaintiff reluctantly attends. (Exhibit C)

60. On April 2, 2017 Plaintiffs Trek Marlin 7 with upgrades is stolen on the LSU

       Campus. The thief cut his bike lock. The Plaintiff emails the LSU Police a very

       detailed description of the bike, including photos and the serial number.

61. On April 6,2017 the Plaintiff attends the SPE Social at Caliente. Upon arriving, the

       Plaintiff goes to buy a beer at the bar inside with Shrey Dalal and leaves his tab

       open. Plaintiff makes his way to the outdoor patio, where Megan Martter greets him
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       eagerly, in a way that showed her attraction to the Plaintiff. Plaintiff sits down at the

       table where food is served. During his meal two beers are brought to the Plaintiff

       from inside the bar. There's a shift change and a new waitress brings the last beer.

       When Plaintiff leaves the new Waitress becomes confused and accused the Plaintiff

       of walking out on his bar tab. Megan Martter quickly texts the Plaintiff and says

       "you're a complete ass." Plaintiff quickly responds and texts Megan in an attempt to

       resolve the issue of payment and to explain the situation with his open tab to her.

       Megan appears to show no interest in resolving the issue of payment. Megan Martter

       seems upset that the Plaintiff left her at Caliente and did not show her enough

       interest. (Exhibit C)

62. Plaintiff does his best to pay his bills. He has a credit score above 800.

63. On September 7,2017 the Plaintiff attends an SPE meeting where Megan Martter

       refers to Plaintiff as a thief m front of a large crowd of his fellow students. Plaintiff

       believes that Megan is upset because the Plaintiff did not show enough interest in

       her over the past 6 months. After the meeting, the Plaintiff texts Megan and asks her

       if she wanted to go on a date. Megan responds and pretends not to know who the

       Plaintiff is. Plaintiff sarcastically responds and suggests that the two should keep

       their relationship "strictly physical." Plaintiff did not harass or sexually harass

       Megan Martter. Plaintiff later apologized for being disrespectful on several

       occasions. (Exhibit C) JMegan Martter is unable to get over the incident and began

       excluding Plaintiff from the SPE student organization without good cause, in

       contravention to the LSU SPE Constrtution, engaging in both tortious misconduct

       and a breach of an implied contract.

64. .On September 24,2017 the Plaintiff texts Megan Mitehell at 2 AM on a Sunday

      morning and asks her to come over to his place to have sex with him. The texts were

       otherwise clean in nature. Megan later asks the Police to instruct the Plaintiff to

      cease contact with her. The LSU Police seem eager to press charges over this

      incident for some odd reason, but Megan Mitchell begs them not to. Instead of

      simply calling the Plaintiff, the LSU Police show up at his door and threaten him

      with criminal charges and arrest if he contacts Megan again. Plaintiff is embarrassed
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       and experiences extreme mental distress. Plaintiff ceases contact with Megan

       Mitchell for good.

65. On numerous occasions the Plaintiff sought the help ofLSU Administrators,

       Faculty, and Professors for help in resolving his issues with Megan Martter and the

       SPE Student Organization. Each and every time his pleas for help were ignored or

       he was turned away.


66. On October 31, 2017 Plaintiff sends an email to Megan C Martter and copies 4 other

       SPE student leaders on the email. Plaintiff again apologizes to Megan for his

       disrespectful behavior. Plaintiff goes out of his way to make Megan comfortable,

       and says "I want to keep our relationship strictly professional. You will not

       experience any more unwanted attention from me." Plaintiff offers to assist Megan

       in securing employment with his network of connections. Plaintiff says "All I ask

       from you is to be treated fairly and be allowed to attend the golf tournament as I

       have done so without any serious issues for the past two years." Plaintiffs email is

       ignored and he receives no response. (Exhibit C.)

67. On November 3,2017 Rachel Champagne recommends that Plaintiff be punished

       for merely threatening a lawsuit against the 3 PETE professors(Thompson, Hughes,

       Sears) for their previous unethical and illegal actions taken against him. A confusing

       and obscure email from 15 months prior was introduced and used to charge the

       Plaintiff with "failure to comply" with a no contact directive that Plaintiff was

       completely unaware of.


68. On November 3,2017 Plaintiff sends one email to Megan and 4 other SPE Officers

       that says they will be sued for breach of contract and blacklisted with certain

       employers if they do not start treating their student members fairly. Several of

       Plaintiffs colleagues also complained about the SPE student leaders and he learned

       early on that nothing was going to be done. There was also precedent from 2015 in

       which the PETE Department refuses to intervene in Student Organizations.

69. Dr. Thompson meets with the SPE student leaders and does not help the Plaintiff

      with his matter. Dr. Thompson absolutely despises the Plaintiff and probably

      advised Megan Martter to go file a Police Report. Dr. Thompson's actions have put
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       the Plaintiff through tremendous grief, caused the Plaintiffs grades to suffer

        immensely, and has caused the Plaintiff to be wrongfully arrested and suspended for

       simply threatening legal action against student leaders who were violating LSU

       rules, policies, and/or bylaws and wrongfully causing harm to the Plaintiff and to

       other students.


70. On November 7, 2017 Plaintiff goes to SAA on for help with his SPE dispute but

       they turn him away, directing him to go meet with student life. Plaintiff tries to meet

       with student life on November 7 but they refuse to meet with him. Plaintiff sees

       Megan Martter leave a student life administrator's office while he is waiting in the

       lobby to try to speak with somebody. Plaintiff says nothing to her and does not

       approach her in any way. A female African American student is sitting at the

       reception desk.


71. At 4:12PM on November 7,2017, the Plaintiff emails Megan to attempt to serve her

       properly with a lawsuit. Plaintiff was unable to obtain her Baton Rouge address in

       his online search. Plaintiff notifies Megan and lets her know that he plans to serve

       her with process at her home address in Nevada and asks her to please provide an

       alternative address that would be more convenient for her. (Exhibit C)

72. On November 7, 2017 Megan C Martter and Dmmil Parekh go to the LSU Police

       and attempt to claim cyberstalking charges against the Plaintiff. It is possible that

       this was out of fear for their financial wellbeing. Plaintiff never made any threats of

       physical harm or violence. Plaintiff never made any threats of committing criminal

       acts. Plaintiff believes he went out of his way to make others comfortable during this

       difficult situation. Neither individual ever asked the Plaintiff to cease contact with

       them. Megan Martter provides a written statement to the Police in which she falsely

       claims that the Plaintiff was harassing her in person and asked to cease contact with

       her in person. Megan is unable to provide any credible witnesses to her claims. Her

       only named witness is Abdul Homran, who was also one of the abusive student

       leaders expecting pending litigation from the Plaintiff.

73. LSU Officer Palermo calls Plaintiff on the evening of November 9 and instructs him

       to cease contact with Megan Martter and Drumil Parekh. Plaintiff complies. This act
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       of going to the police and claiming cyberstalking charges appears to be the new

       form of "Swatting" individuals who are disliked.

74. Officer Palermo decides to only charge the Plaintiff for the messages sent to Megan

       Martter. Plaintiff is not charged for the texts and emails that he sent to Drumil

       Parekh. The only different variable in the texts and emails sent to the two individuals
                                                                      I


       is the fact that the Plaintiff had asked Megan Martter to have sex with him. The

       manner in which the Plaintiff asked Megan Martter for sex was completely

      noncriminal in nature. This side by side analysis of both individuals going to the

      Police with nearly identical messages proves a clear cut case of a systemic problem

      ofanti-male gender discrimination by the LSU Police and the LSU Administration,

      in direct violation of Title DC of the Education Amendments Act of 1972. LSU

      President King Alexander frequently sends out mass emails to students expressing

      how important women are to him, including his daughters, which is great, but has

      never sent similar emails expressing his support for male students.


75. On November S, 2017 LSU Police Officer Andrew Palenno drafts a sworn affidavit

      in which he intentionally withholds facts, distorts the facts of the situation and

      intentionally provides false and/or misleading information. This is a clear cut case of

      false arrest with intentional and tortious Police misconduct exceeding the

      preponderance of the evidence standard. Officer Palermo exaggerates the quantity of

      messages sent, claims Megan didn't respond in cases when she did respond, falsely

      claims that the Plaintiff refused to meet with him, and falsely paints the Plaintiff as

      a serial sex Predator. A Sworn Affidavit said "the messages sent by Eustice

      included asking the victim if they could keep their relationship strictly physical,

      attempting to bribe the victim into lettmg him find her an internship or job and

      threatening to "blacklist" her and civilly use her." Palermo mtentionally makes

      no mention of the nature of the dispute, misconstrues why help with finding

      employment was offered, and is clearly trying to imply that the Plaintiff is

      attempting to extort sex when that clearly wasn't the case. He writes "blacklist"

      as if it was some sort of hitlist when the emails sent by the Plaintiff clearly

      indicates that this was a blacklist with employers and a result of the Plaintiffs

      unreasonable treatment as a member of tbe SPE Student Organization. Officer
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       Palermo had all of the texts and all of the emails when he was drafting the
                            s
       affidavit. (Exhibit C) At the end of the Sworn Affidavit, Officer Palermo lists 3

       other cyberstalking cases that were not even cases of cyberstalkiag, were never

       charged as cases of cyberstalking, and again strongly implied that the Plaintiff

       was trying to extort sex from others. This was no accident. These were

       administrative actions taken in bad faith. No reasonable person exercising their

      discretion would have acted in a similar manner. No reasonable person would

      have arrested the Plaintiff.

76. On November 9,2017 Plaintiff is falsely arrested by the LSU Police and charged

      with the crime of Cyberstalking Complainant Megan C Martter. Plaintiff is held in

      East Baton Rouge Parish Prison for nearly 24 hours. Plaintiffs messages were

      neither criminal in content or in quantity, and occurred over a span of more than 7

      months. (Exhibit C)

77. The LSU Police had previously harassed the Plaintiff iu September 2017 by

      showing up to his apartment and threatening him with criminal charges for

      simply ""drunk texting"" another female student ONE TIME at 2 AM on St

      Sunday to come over and have sex. There was no harassment on Plaintiffs part

      and he ceased contact with the student The LSU Police also showed up to

      Plaintiffs apartment twice to harass Plaintiff about a small safe that he kept in

      his campus apartment because they wanted to know whether a handgun was

      inside. This was a false pretext for the intentional harassment of the Plaintiff by

      the LSU Police and the LSTJ Administration. There were never any witness

      statements that would point to the possibility of the presence of a handgun.

      Plaintiff let the Police look in the safe the first time and there was no handgun.

      Plaintiff wasn't at his apartment the second time. When the Police showed up

      the second time, it was after his false arrest, and Plaintiff became really scared

      and paranoid because he was initially unaware of the nature of their visit, and

      was afraid that he was going to be falsely arrested a second time. The LSU

      Police had a Plainclothes Officer spy on the Plaintiff in one of his classes and

      had an undercover officer call Plaintiffs business phone number and ask if

      they could visit a "local Baton Rouge store." There exists an overwhelming
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        pattern of nearly a dozen instances of harassment by the LSU Police against the

        Plaintiff with absolutely no probable cause or criminal acts of the Plaintiff

        being discovered in the process. Plaintiff had absolutely no criminal record for

        the Police to be concerned about, and Plaintiff had never had any serious

        problems with the Police before his false arrest. As a result of the illegal

        harassment by the LSU Police, the Plaintiff no longer feels safe around Police,

        especially LSU Police Officers. Generally, citizens can successfully sue the

       Police for infliction of emotional distress when an officer intentionally or

       recklessly acts in a way that causes emotional injury or causes emotional

       distress through a negligent act.

78. A News article goes online the morning of Friday November 10 while Plaintiff is in

       prison and it is widely discussed at the SPE Golf Tournament. By the end of the day,

       nearly all of Plaintiff s colleagues are aware of the arrest. This article remains online

       to this day and falsely paints the Plaintiff as a sex predator. The article states "A

       Sworn Affidavit said the messages sent by Eusfice included asking the victim if

       they could keep their relationship strictly physical, attempting to bribe the

       victim into letting him find her an internship or job and threatening to

       "blacklist" her and civilly use her." This news article appears as the first result

       when Plaintiffs name is put into Google. Plaintiff continues to suffer from extreme

       humiliation, mental distress, and lost wages as a result of this defamatory

       information based on the false and misleading LSU Police affidavit.

79. Plaintiff sends out a mass email to his feUow students on Saturday November 1 1

       addressing the false arrest and shares the emails and texts with his feJlow students.

       Plaintiffs colleagues frequently send out mass emails and yet Plaintiff was the only

       one charged under the student rules. Plaintiff was later asked to stop sending mass

       emails and he complied.

80. On November 17, 2017 a hearing panel finds Plaintiff responsible for "failure to

       comply" due to his litigation threat and because he was presumed responsible for

       violations in advance of the Kangaroo Court hearing. Plaintiff is technically in good

       standing with the University prior to this hearing due to having no issues in the Fall
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        of 2016 or Spring of 2017.

81. On November 28,2017 Plaintiff is charged under various incredibly vague and non-

        specific student rules and suspended by a hearing panel on November 28,2017.

        These student rules are written in a way that would allow administrators to charge

        and suspend any student at any time.


82. The panel suspends Plaintiff for the Spring 2018 semester, setting him back an entire

        year. The 7 hours ofcoursework needed for his PETE degree are only offered in the

        Spring. The panel provides a written rationale that indicates that they were mislead

       by Dr. Craig Harvey into believing that the Plaintiff had violated Administrative

        directives. The Plaintiff had actually been fully compliant with all directives. The

       hearing panel asks Plaintiff zero questions during the hearing and it appears to be

       completely rigged. Megan C. Martter does not participate in the hearing at all.

83. Dr. Craig Harvey, Dean of the LSU Engineering Department, has grown to hate the

       Plaintiff as a result of the Plaintiff filing 4 grade appeals over denied

       accommodations. Dr. Harvey believes that as an individual with ADHD, the

       Plaintiff is receiving undeserved and special treatment. Dr. Harvey put the Plaintiff

       on a class registration hold in the Fall of 2017 because the Plaintiff was exercising

       his right to file grade appeals.

84. To add insult to injury, Dr. Harvey attended a disciplinary hearing and maliciously

       had the Plaintiff suspended by misleading a panel into believing that the Plaintiff
       was violating administrative directives and misleading the panel into believing that

       the Plaintiff was sexually harassing LSU stidents. The Plaintiff has never sexually

       harassed any LSU Students. Asking somebody for sex on one or two occasions is

       not sexual harassment. The Plaintiff was actually rather polite about it and

       apologized on several occasions.


85. Dr. Harvey also falsely led the panel to believe that the Plaintiff had caused rationale

       students to fear for their safety on several occasions. A few students got afraid when

       they saw an article about the Plaintiffs arrest, as they should have been, because the

       article made the Plaintiff appear to be a heinous sexual predator. Dr. Harvey went

       further and said that the Plaintiff threatens lawsuits against people and never files
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        them.


86. Plaintiff is a man of his word and an Eagle Scout. He does not lie to people.

 87. Plaintiff does not threaten people with lawsuits if he does not actually intend to sue

        them.


88. Dr. Harvey also sent the Plaintiff an email in which he claims that Plaintiff was

        denied scholarships due to his SAA status, and also said the Plaintiff was not his

        friend and was inferior to him.

89. Plaintiffs SAA status is completely illegal.

90. On November 30,2017 the Plaintiff appeals the two SAA cases from the Fall of

       2017 to the Dean of Students and she denies both appeals without even reviewing

       them. She denied the first appeal for the failure to comply case very quickly and

       went to her usual default statement that merely says "the appeal lacks

       preponderance," and offering no specific details or rationale to her decision-making.

       The Dean of Students denies the Plaintiffs appeal for the case brought against him

       after his false arrest by simply reiterating the written rationale of the panel who

       misunderstood the facts. If she had actually reviewed the case she would have

       realized that she also misunderstood the facts.

91. Plaintiff is mentally traumatized from the events he experienced at LSU and he

       performs poorly on several of his exams during November and December. Plaintiff

       would have earned mostly A grades but he instead received mostly B grades in his

       classes for the Fall 2017 Semester.

92. On December 13,2017 the Plaintiff appeals the two Fall 2017 SAA cases to the

       President's Office.

93. On January 4,2017 The Plaintiffs appeal is denied in the false arrest case and the

       appeal for the failure to comply case is never reviewed.


94. During the Fall 2017 semester, Megan C. Martter abused her power as Vice

       President and began excluding the Plaintiff from SPE events for no reason

       other than the fact that he had asked her to have sex with him without first
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       taking her on a date. The Plaintiff was excluded from Educational Activities for

       being a man. Nearly all men inherently have a sex drive and they should be

       allowed to sexually solicit women in a non-predatory manner, especially when

       those women are attracted to them. The Plaintiffs after-hours private text

       messages should not be subject to punishment in a student organization.

95. In his protest of this sexual discrimination and breach ofLSU bylaws occurring

       on LSU's campus, the Plaintiff threatened to sue Megan C. Martter. The

       Plaintiff went to Baton Rouge City Court and picked up some small claims

       petitions to sue Mlegan C, Martter as a Pro Se Litigant. The Plaintiff went on

       whitepages.com to look up her address to properly serve her with court

       documents, and could only find her Nevada address* The Plaintiff was

       concerned that serving Megan at her Nevada address might be considered

       legally insufficient in the eyes of some Judges because she was temporarily

       away from home, and the Plaintiff emailed Megan to give her an opportunity to

       provide him with an alternative address that would be more convenient for her.

       This is when Megan C. Martter went to the LSU Police, iu fear of her financial

       well being, and filled out a sexual violence form authorizing the Plaintiffs false

       arrest, although in her own written statements she admits that there was no sex

       and no violence.


96. This gave the LSTJ Police the green light to wrongfully and falsely arrest the
                                                                 I

      Plaintiff, not bound by the laws of our Great Nation, but bound by the agenda

       put forth by the LSU Administrators in their crusade against men. In order to

      appease the Administration, the LSU Police cleverly crafted a sworn affidavit

      that alleges that the Plaintiff was trying to extort sex from Megan and 3 other

      females, when all of the evidence proves otherwise.


97. The Plaintiff was excluded from Educational Activities for being a man,and in

      his reasonable protest of this, he was arrested for being a man. His mugshot

      was posted online for the world to see and he was proclaimed to be a sexual

      predator.


98. This was not enough to satisfy the LSU Administrators in their manhunt. The
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        Administrators had the Plaintiff wrongfully suspended from LSU on November

        28, 2017, setting him back an entire year.

99. In their disgraceful actions, LSU had Christopher D Eustice excluded from

        University activities for being a man, arrested for being a man, defamed for

        being a man, aud suspended from their University for being a man, all in direct

        violation of Title JX of the Education Amendments of 1972.

100. In February 2018 the Plaintiff rejected an offer to have the criminal charges

        dropped by paying a $200 fine. The Plaintiff will keep his $200. The Plaintiff
        will make no deals with prosecutors. The Plaintiff expects to win at trial if there

       ever is a trial. The Plaintiff respectfully requests the Court to postpone any

       decisions on Motions to Dismiss this case until the Plaintiff is acquitted.

101. Plaintiff enrolled at Houston Community College as a full-time student in

       January 2018. He is currently working on business courses and on an IT

       Cybersecurity degree. He has maintained a 4.0 GPA at the institution and has

       had no conduct issues there.


102. On April 30, 2018 LSU Managing Attorney Trey Jones indicates that Plaintiffs

       appeal for the false cheating accusations will receive no review.


103. On June 19, 2018, after complaining to LSU Police Chief Bart Thompson via email

       about his false arrest and other Police harassment, the LSU Police tried to bribe the

       Plaintiff with somebody else's bike that they stole from an evidence locker in

       Dallas, TX. The Plaintiff had previously emailed the LSU Police a very detailed

       description of the bike and serial number when it had been stolen in April 2017. A

       thief had cut Plaintiffs bike lock on the LSU Campus and stole his Trek Martin 7

       with upgrades, valued in excess of $1,000. The LSU Police offered the Plaintiff a

       Trek Wahoo. Plamtiff received photos via email from the Officer in charge of the

       evidence locker in Dallas, TX.


104. Plaintiff has been vigorous and persistent in insisting that Defendants follow their

       own rules and the law. That persistence has caused great resentment among LSU

       faculty and administrators and has resulted in animosity for challenging their belief
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         that they have absolute power and unbridled discretion where student matters are

         concerned.


 105. LSU, through its teaching staff and administrators, engaged in harassing and

         retaliatory behavior for Plaintiffs exercise of his constitutional rights to due process

         of law and freedom of speech, and without regard for Plaintiffs rights under Section

         504 of the Rehabilitation Act of 1973 and the Americans With Disabilities Act.

 106. LSU's illegal and unconstitutional actions, taken through its staff and administration,

         are systemic as a result of policies and practices developed both in its policy and

        rulemaldng process and through an autocratic attitude developed over time. These

        failures are exemplified by the words and deeds of the faculty and administration in

        these disgraceful actions.

                    V, FIRST CAUSE OF ACTION

        VIOLATION OF PLAINTIFF'S DUE PROCESS RIGHTS
         UNDER THE FOURTEENTH AMENDMENT TO THE
        UNITED STATES CONSTFTUTION

107. Plaintiff incorporates all preceding paragraphs into this Count by reference as though

       fully restated herein.

108. The recitations contained in the Statement of Facts above are incorporated in this

       section as if repeated herein.


109. None of the LSU procedures described above meet even the most rudimentary

       requirements of either procedural or substantive due process of law.


110. Defendants have refused to apply their existing hearings and appeals policies and

       procedures in a manner comportmg with their duties under the 14th Amendment to

       the United States Constitution.

111. Plaintiff has been deprived of an important property interest. He is left burdened with

       additional student loans and related costs due the costs of transferring to another

      university after his dismissal and other costs and expenses and the damage to his

      reputation.
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112. Plaintiff has been deprived of his liberty interest in his reputation.

113. These actions were the proximate cause of Plaintiffs injuries.

     VI. SECOND CAUSE OF ACTION - SECTION 504 OF THE
      REHABDLFTATION ACT OF 1973 AND THE AMERICANS WFTH
                                 DISABILITIES ACT

 114. Plaintiff incorporates all preceding paragraphs into this Count by reference as though

        fully restated herein.

115. Plaintiff is a disabled individual under section 504 of the Rehabilitation Act of 1973,

        29 U.S.C. §794 and the Americans With Disabilities Act, 42 U.S.C. §§ 12131-

        12150, where disability is defined as a physical or mental impairment that

        substantially limits one or more of the major life activities of an individual, a record

        of such an impairment, or being regarded as having such an impairment.

116. Plaintiff requested accommodations for testing because of his diagnosed and

       identified disability. Attention DeflciVHyperactivity Disorder. These

       accommodations were refused.

117. Defendants made few of the accommodations requested and required by each of these

       laws before acting based on behaviors directly related to and resulting from this

       disability, even after being made aware of Plaintiff s disability.

118. LSU is the recipient of federal funds.

119. These actions were the proximate cause of Plaintiffs injuries.
                   VH. THIRD CAUSE OF ACTION

                     DAMAGE TO REPUTATION

120. The recitations contained m the Statement of Facts above are incorporated in this

       section as if repeated herein.

121. Defendants have caused great harm to Plaintiffs reputation by their actions without

       good cause or due process of law. These actions were taken with a conscious

       indifference to Plaintiffs rights enumerated herein and are a part of a pattern and

       practice of disregard for students' legal and constitutional rights.

122. Plaintiffs reputation will be forever scarred by his false arrest and by the defamatoiy
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       news article that will likely remain online forever.

123. Defendants negligently or intentionally made false statements of fact about Plaintiff

       to third parties.

124. Plaintiff's reputation has been damaged greatly because of the illegal and

       unconstitutional acts ofLSU and its staff and administration and defendants.

125. These actions were the proximate cause of Plaintiff s injuries.

       Vm. FOURTH CAUSE OF ACTION

        FALSE ARREST

126. Plaintiff incorporates all preceding paragraphs into this Count by reference as though

       fully restated herein.


127. Plaintiff has suffered damages, including, but not necessarily limited to, mental and

       psychological anguish.

128. Defendants, operating under the color of law, wrongfully abused the judicial process

       to have Plaintiff, CHRISTOPHER D EUSTICE arrested, and subsequently never

       tried or convicted, for the crime ofCyberstalking (La. R.S. 14:40.3).

129. Plaintiff now brings this action against Defendants pursuant to federal statute and

       relevant state law to redress the deprivation under color of law of Plaintiff s rights as

       secured by the United States and Louisiana Constitutions.

130. In the manner described above. Defendants violated Plaintiff s constitutional rights,

       as described earlier herein.


131. Defendants had no objective evidence to directly implicate Christopher Eustice in the

       alleged Cyberstalking (La. R.S. 14:40.3).

132. Defendants are being sued for the following reasons, to wit:


      A. Failing to establish and/or maintain policies, procedures, training and/or

      supervision of staff and other employees;

      B. Failing to promulgate proper policies and procedures which would assure that the

      employees of the LSU Police Department would adhere to proper standards; and
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        C. By violating policies and/or procedures and/or general orders applicable under the

        circumstances.


       D. Failing to adhere to proper standards;

       E. Failing to follow all internal procedures, safeguards and protocol required by

        generally accepted law enforcement procedures and/or LSUPD procedures; and


       F. All of the Defendants actions were undertaken under color of law and within the

       scope of their employment such that the employer, LSU Police Department, is liable

       for their actions.


133. STATE LAW CLAIMS: Defendants are liable to Plaintiff for their acts and

       omissions which caused his: A. Wrongful arrest; B. Wrongful detention; and C.

       Malicious prosecution.


134. Those acts described above caused resulting injury to the Plaintiff. These include, but

       are not necessarily limited to:

       a. Mental suffering and anguish;

       b. Psychological suffering and anguish;

       c. Emotional distress inflicted both negligently and intentionally;

       d. Economic losses including having to pay Attorney's Fees for the defense of the

       above-mentioned charges; and


       e. Lost wages.


135. Plaintiff seeks and is entitled to attorney's fees under 42 U.S.C. 1981,1983 and 1988.

       DC. FIFTH CAUSE OF ACTION

       Violation of Title TK. 20 U.S.C. S1681.et sea.


136. Plaintiff incorporates all preceding paragraphs into this Count by reference as though

       fully restated herein.

137. Through its policy and practice, LSU has persisted in a systematic, intentional,

       differential treatment of male students seeking educational opportunities and benefits
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        through LSU and, therefore, has discriminated against male students in violation of

        Title IX.

138. As a result ofLSU's policy and practice of treating the male students significantly less

        important than female students, male students seeking to access the educational

        opportunities and benefits LSU provides face serious and substantial risks of false

        arrest and defamation as a result of systemic discrimination, while female students

        seeking similar educational benefits and opportunities did not face the same serious or

        substantial risks.

139. LSU, through its employees and administrators responsible for overseeing the LSU

        Police system at LSU, had the authority to directly investigate and take meaningful

        corrective action to end the false arrests threatening male students within the LSU

        campus, and to provide male students equal access to those educational benefits and

        opportunities without facing serious risks of false arrest, defamation, and unjust

        suspension. Despite this, LSU consciously, recklessly, and deliberately failed to do so.

140. As a direct and proximate result ofLSU's discriminatory actions, inactions, policies

       and practices, and deliberate indifference, in violation of the requirements of Title DC,

       Christopher D Eustice was falsely arrested, defamed, and wrongfully suspended, and

       endured great mental pain and suffering and lost wages.

       X. SIXTH CAUSE OF ACTION

        BREACH OF CONTRACT
141. Federal Courts have Supplemental Jurisdiction and Diversity Jurisdiction over

       Plaintiffs State law claims. Plaintiff is a resident of Texas.

142. Plaintiff incorporates all preceding paragraphs into this Count by reference as though

       fully restated herein.

143. Students have a right to protection from arbitrary or capricious decision making.

144. Decision making should not be arbitrary or capricious / random and, thus, interfere

       with fairness. While this case concerned a private school, Healy v. Larsson (1974)

       found that what applied to private intuitions applied also to public.

145. . Students have a right to have institutions follow their own rules.

146. Institutions are required, contractually, to follow their own rules.

147. Institutional documents may also be considered binding implied-in-fact contracts.

       Goodman v. President and Trustees ofBowdoin College (2001) ruled that institutional
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        documents are still contractual regardless if they have a disclaimer.

148. Students have a right to adherence to regulations.

149. Students are protected from deviation from information advertised m regulations.

150. Students have a right to adherence to student codes.

151. Students are protected from deviation from information advertised in student codes.

152. Students have a right to adherence to handbooks.

153, Students are protected from deviation from information advertised in handbooks.

154. Students have a right to fulfillment of promises made by advisors.

155. Healy v. Larsson (1974) found that a student who completed degree requirements

       prescribed by an academic advisor was entitled to a degree on the basis that this was an

        implied contract.

156. Students have a right to a continuous contract.

157. Mississippi Medical Center v. Hughes (2000) determined that students have an implied

       right to a continuous contract during a period of continuous enrollment suggesting that

       students have the right to graduate so long as they fulfill the requirements as they were

       originally communicated.

158. Students have a right to fuLRUment of verbal promises.

159. Verbal contracts are also binding. The North Carolina Court of Appeals in Long v.

       University of North Carolina at Wihnington (1995) found, however, that verbal

       agreements must be made in an official capacity in order to be binding (Bowden,

       2007). Dezick v. Umpqua Commurdty College (1979) found a student was

       compensated because classes offered orally by the dean were not provided.

       SL INJUNCT1VE RELIEF
160. Plaintiff incorporates all preceding paragraphs into this Count by reference as though

       fully restated herein.

161. Plaintiff will suffer irreparable harm if the Defendants are allowed to continue their

       present course of action.

162. Defendant's actions described above consist of wrongful acts.

163. There exists imminent hann in the actions of Defendant described above.

164. There is no adequate remedy at law.

165. Plaintiff has exhausted all administrative remedies.

166. Plaintiff prays for this court to order reversal of the improper grades received at LSU.
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               XIL DAMAGES
       167. Plaintiff is entitled to damages in excess of the jurisdictional limits of this court to

               compensate Plaintiff for:

                  • Reimbursement for additional tuition, costs and fees at HCCS.

                  • Damages in an amount exceeding thejurisdictional limits of this court for

                      failing to grant the accommodations requested and required by Section 504 of

                      the Rehabilitation Act of 1973 and the Americans With Disabilities Act.

                  • Lifetime economic damages caused by the necessity to transfer to an institution

                      of lesser prestige.

                  • Damages in an amount exceeding the jurisdiction of this court for damage to

                      Plaintiffs reputation and lifetime economic damages resulting from his False

                      Arrest.

                  • Damages for violations of Plaintiffs constitutional rights in an amount

                      exceeding one million dollars ($1,000,000) dollars.

                  • Damages for violations of state and federal laws and regulations.

                  • Punitive damages in an amount sufficient to punish Defendants for their illegal

                      and unconstitutional behaviors and actions and discourage them from acting in

                      a like manner in the future.

                  • Attorneys' fees in an amount to be determined by the Court.




                                       PRAYER FOR RELIEF
       WHEREFORE, Plaintiff pray for judgment against Defendants, Jointly and severally, in

the manner and particulars noted above, and in an amount sufficient to fully compensate Plaintiff

for the elements of damages enumerated above, judgment for damages, reversal of the improper

grades received as described in this action and recovery of attorney s fees and costs for the

preparation and trial of this cause of action, and for its appeal if required, together with pre- and

post-judgment interest, and court costs expended herein, and for such other relief as this Court in

law and in equity, deems just and proper.
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     Respectfully submitted,

     Qlxu/ (W^ce^
     Christopher D Eustice

    Plaintiff Pro Se

     655 West Forest Dr.


    Houston, TX 77079

     (832) 259-1634

    chds.eustice@sbcglobal.net
